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               1:21-cr-00371          Document
                             Document #: 28 Filed:406/17/21
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Case:    2:21-mj-09138-ESW
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      Case: 1:21-cr-00371 Document #: 28 Filed: 06/17/21 Page 5 of 7 PageID #:90


                                                                            CLOSED,PASSPORT

                         U.S. District Court
               DISTRICT OF ARIZONA (Phoenix Division)
     CRIMINAL DOCKET FOR CASE #: 2:21-mj-09138-ESW All Defendants


Case title: USA v. Lopez                                   Date Filed: 06/16/2021
Other court case number: 1:21CR371 Northern District of    Date Terminated: 06/17/2021
                         Illinois


Assigned to: Magistrate Judge Eileen S
Willett

Defendant (1)
Vivianna Lopez                              represented by Kristoff Isiah Williams
50572-509                                                  Federal Public Defenders Office -
TERMINATED: 06/17/2021                                     Phoenix
also known as                                              850 W Adams St., Ste. 201
Mia Flores                                                 Phoenix, AZ 85007
TERMINATED: 06/17/2021                                     602-382-2779
                                                           Email: kristoff_williams@fd.org
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Public Defender or
                                                           Community Defender Appointment

Pending Counts                                             Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                          Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                 Disposition
18:1956(h) - Money Laundering;
18:1956(a)(1)(B)(i) and 2 - Money
Laundering, Aid and Abet; 18:1957 and



https://ecf.azd.uscourts.gov/cgi-bin/DktRpt.pl?124654234073669-L_1_0-1                   6/17/2021
CM/ECF - azd                                                                   Page 2 of 3
      Case: 1:21-cr-00371 Document #: 28 Filed: 06/17/21 Page 6 of 7 PageID #:91


2 - Controlled Substance - Sell,
Distribute or Disperse



Plaintiff
USA                                            represented by Sheila Phillips
                                                              US Attorneys Office - Phoenix, AZ
                                                              2 Renaissance Square
                                                              40 N Central Ave., Ste. 1800
                                                              Phoenix, AZ 85004-4408
                                                              602-514-7500
                                                              Fax: 602-514-7650
                                                              Email: sheila.phillips2@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Designation: Assistant US Attorney


 Date Filed      # Docket Text
 06/15/2021      1 Arrest (Rule 5 - Northern District of Illinois) of Vivianna Lopez. (MAP)
                   (Entered: 06/16/2021)
 06/16/2021      2 MINUTE ENTRY for proceedings held before Magistrate Judge Eileen S Willett:
                   Initial Appearance in Rule 5(c)(3) Proceedings as to Vivianna Lopez held on
                   6/16/2021. On motion of the Government, IT IS ORDERED unsealing the
                   Indictment. DEFENDANT SWORN AS TO FINANCIAL STATUS. Court
                   Appoints Kristoff Isiah Williams (AFPD) on behalf of Vivianna Lopez. Rule 5(c)
                   (3) Identity Hearing Waived. IT IS ORDERED releasing the defendant on her
                   personal recognizance with conditions. FURTHER ORDERED The Court
                   informs the defendant that her next appearance date in the Northern District of
                   Illinois is July 13, 2021 at 9:05 a.m. before Judge Matthew Kennelly, and the
                   hearing will be telephonic. The Court directs the defendant to stay in contact with
                   counsel for instructions on connecting to the hearing. (Recorded by
                   COURTSMART.) Hearing held 1:17 PM to 1:29 PM. (MAP) (Entered:
                   06/16/2021)
 06/16/2021      3 ORDER: Pursuant to Rule 5(f) of the Federal Rules of Criminal Procedure, the
                   United States is ordered to disclose in a timely manner all exculpatory evidence
                   to the defendant(s), that is, all evidence that is favorable to the defendant(s) or
                   tends to cast doubt on the United States' case, as required by Brady v. Maryland,
                   373 U.S. 83 (1963) and its progeny. Failure to comply with this order may result
                   in consequences, including, but not limited to, the reversal of any conviction, the
                   exclusion of evidence, adverse jury instructions, dismissal of charges, contempt
                   proceedings, disciplinary action, and/or sanctions by the Court.

                    Ordered by Magistrate Judge Eileen S. Willett. (MRH) (This is a TEXT ENTRY
                    ONLY. There is no pdf document associated with this entry.) (Entered:
                    06/16/2021)




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      Case: 1:21-cr-00371 Document #: 28 Filed: 06/17/21 Page 7 of 7 PageID #:92


 06/16/2021     4 ORDER SETTING CONDITIONS OF RELEASE as to Vivianna Lopez. Signed
                  by Magistrate Judge Eileen S. Willett on 6/16/2021. (MRH) (Entered:
                  06/16/2021)
 06/17/2021     6 ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                  WHERE CHARGES ARE PENDING to Northern District of Illinois as to
                  Vivianna Lopez. Defendant shall appear for a telephonic hearing before the
                  Honorable Matthew F. Kennelly on July 13, 2021 at 9:05 AM. Signed by
                  Magistrate Judge Eileen S Willett on 6/16/2021. (CIS) (Entered: 06/17/2021)
 06/17/2021     7 Notice to Northern District of Illinois of a Rule 5 or Rule 32 Initial Appearance as
                  to Vivianna Lopez. Your case number is: 1:21-cr-00371. Please use PACER
                  Court Links to access the public docket and documents.

                   (If you wish to designate a different email address for future transfers, please
                   send your request to the national list host at
                   InterdistrictTransfer_TXND@txnd.uscourts.gov.) (CIS) (Entered: 06/17/2021)
 06/17/2021     8 NOTICE re: PASSPORT as to Vivianna Lopez. Defendant is not permitted to
                  apply for the issuance of a passport and/or passport card during the pendency of
                  this action. (PTS-VE, ) (Entered: 06/17/2021)



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                    Login:
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                    Description:   Docket Report
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PACER fee: Exempt




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